            Case 18-32106 Document 95-1 Filed in TXSB on 05/18/18 Page 1 of 2



                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION



In re:                                                    Case No. 18-32106

Erin Energy Corporation, et al., 1                        (Chapter 11)

            Debtors.                                      (Jointly Administered)




 ORDER GRANTING EMERGENCY MOTION OF NIGERIAN AGIP EXPLORATION
LIMITED PURSUANT TO SECTION 105(A) OF THE BANKRUPTCY CODE SEEKING
    THE ENTRY OF AN ORDER (I) DETERMINING THAT THE AUTOMATIC
       STAY DOES NOT APPLY TO AN ACTION COMMENCED BY THE
            DEBTORS OR (II) GRANTING ALTERNATE RELIEF
                                         (Relates to Docket No. ____)

          The Court has considered the Emergency Motion of Nigerian Agip Exploration Limited

Pursuant to Section 105(a) of the Bankruptcy Code Seeking the Entry of an Order (i)

Determining that the Automatic Stay Does Not Apply to an Action Commenced by the Debtors or

(ii) Granting Alternative Relief (the “Motion”) 2; this Court finds that: (i) it has jurisdiction over

this matter pursuant to 28 U.S.C. §§ 157 and 1334; (ii) venue in this district is proper pursuant to

28 U.S.C. §§ 1408 & 1409; (iii) the emergency relief requested in the Motion is warranted in

light of the factual circumstances of these cases and the matters described in the Motion; (iv)

NAE’s notice of the Motion and opportunity for a hearing on the Motion were appropriate under

the circumstances and no other notice need be provided; and (v) having reviewed the Motion and

heard the statements concerning the relief requested therein at a hearing before this Court (the


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    The last four digits of Erin Energy Corporation’s federal tax identification number are 9798. The other
    Debtors in these cases are: Erin Energy Kenya Limited; Erin Energy Kenya Limited; and Erin Petroleum
    Nigeria Limited. The Debtors’ service address is: 1330 Post Oak Blvd., Suite 2250, Houston, TX 77056.
2
    Capitalized terms used but not defined herein have the meanings ascribed to them in the Motion.


3038164_1
            Case 18-32106 Document 95-1 Filed in TXSB on 05/18/18 Page 2 of 2



“Hearing”), the legal and factual bases set forth in the Motion and at the Hearing establish just

cause for the relief granted herein. Upon all of the proceedings had before this Court; and after

due deliberation and sufficient cause appearing therefor,

            It is hereby ORDERED THAT:

         1.      The Motion is granted as set forth below.

         2.      The automatic stay does not apply to prohibit NAE from responding to, or

otherwise participating in proceedings relating to, the Vacatur Motion brought by EPNL.

         3.      This Order shall be binding, regardless of the dismissal, withdrawal,

consolidation, conversion or refilling of these cases.

         4.      This Court retains exclusive jurisdiction with respect to all matters arising from

or related to the implementation, interpretation, and enforcement of this Order.



Dated:
                                               MARVIN ISGUR,
                                               UNITED STATES BANKRUPTCY JUDGE




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